          8:10-cr-00191-LSC-SMB                       Doc # 111          Filed: 04/22/15               Page 1 of 2 - Page ID # 319
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                           DistrictDistrict
                                                      __________    of Nebraska
                                                                            of __________

                    United States of America
                               v.                                          )
                           Brian P. Arent                                  )
                                                                           )    Case No: 8:10cr191
                                                                           )    USM No: 23539-047
Date of Original Judgment:                            02/07/2011           )
Date of Previous Amended Judgment:                    02/16/2011           )    David R. Stickman
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   12                      months is reduced to 6 months on Count II                 .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          02/16/2011              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  04/22/2015
                                                                                                         Judge’s signature


Effective Date:              11/02/2015                                     Joseph F. Bataillon, Senior United States District Judge
                     (if different from order date)                                                    Printed name and title
          8:10-cr-00191-LSC-SMB                      Doc # 111           Filed: 04/22/15               Page 2 of 2 - Page ID # 320
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                      This page contains information that should not be filed in court unless under seal.
                                                (Not for Public Disclosure)


                                                 Brian P. Arent
DEFENDANT:
CASE NUMBER: 8:10cr191
DISTRICT:         District of Nebraska


I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: 8               Amended Total Offense Level: 6
Criminal History Category:    IV              Criminal History Category:   IV
Previous Guideline Range:     10 to 16 months Amended Guideline Range:     6                                                        to 12         months

II. SENTENCE RELATIVE TO THE AMENDED GUIDELINE RANGE
  ✔
  u The reduced sentence is within the amended guideline range.
  u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
    time of sentencing as a result of a substantial assistance departure or Rule 35 reduction, and the reduced sentence
    is comparably less than the amended guideline range.
  u The reduced sentence is above the amended guideline range.

III. ADDITIONAL COMMENTS
  Sentence reduced pursuant to joint stipulation of the parties, Filing No. 108. The defendant's sentence is reduced by
  6 months.
